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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

DARCI RAVENSCRAFT,

              Plaintiff,
                                                            Case No. 2:13-cv-11710-MOB
v.
                                                            Hon. Marianne O. Battani
GC SERVICES, LP,

              Defendant.

AGRUSS LAW FIRM, LLC                              MILLER, CANFIELD, PADDOCK AND
Michael S. Agruss                                 STONE, P.L.C.
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          DEFENDANT’S DISCLOSURE OF CORPORATE AFFILIATIONS AND
                           FINANCIAL INTEREST

       Pursuant to Fed.R.Civ.P. 7.1 and E.D. Mich. LR 83.4, Defendant GC Service Limited

Partnership (“GC Services”) makes the following disclosure:

1.     Is said party a subsidiary or affiliate of a publicly-traded company?

Answer:       No. At the present time, GC Services, as an entity, is not a party or subsidiary or
              affiliate of a publicly owned corporation.

2.     Does the party have any parent corporations?

Answer:       No.

3.     Is 10% or more of the party’s stock owned by a publicly held corporation or other
publicly held entity?
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Answer:            No.

4.      Is there a publicly-owned corporation, or other publicly held entity that has a financial
interest in the outcome of the litigation?

Answer:            No.

                             Respectfully submitted,

                             MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.
                             Michael J. Hodge (P25146)
                             Scott R. Eldridge (P66452)
                             Lara L. Kapalla (P67667)



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Dated: June 5, 2013

                               CERTIFICATE OF SERVICE
       I hereby certify that on June 5, 2013, I presented the foregoing paper to the Clerk of the
Court for filing and uploading to the ECF system, which will send notification of said filing to:
Michael S. Agruss.
                             MILLER, CANFIELD, PADDOCK AND STONE, P.L.C.
                             Michael J. Hodge (P25146)
                             Scott R. Eldridge (P66452)
                             Lara L. Kapalla (P67667)



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DATED: June 5, 2013
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